Case 8:12-cv-03408-DKC Document 1-1 Filed 11/20/12 Page 1 of 11




          EXH 13II A
         Case 8:12-cv-03408-DKC Document 1-1 Filed 11/20/12 Page 2 of 11
                                    Circuit Court For Prince George's County
                                            Clerk Of The Circuit Court
                                                    Courthouse
                                       Upper Marlboro, Md. 20772-9987
                                         MD Relay Service Voice/ TDD
                                                  1-800-735-2258

Writ of Summons                                                  Case ID: CAL12-31352

State of Maryland, Prince George's County to wit:
To: Medstar Georgetown Medical Center Inc
     Sv: Corporation Trust Inc
     351 West Camden Street
     Baltimore, MD 212012201
You are hereby summoned to file a written response by pleading or motion in this court to the attached
complaint filed by:

-DORETHA:STRIPLING
 14071 VISTA DRIVE, UNIT 124A
 LAUREL MD 20707


Within 30 days after service of this summons upon you.

Witness the Honorable Sheila R. Tillerson Adams, Administrative Judge ,;-•• 0yr >,
of the said Court.                                                 „/E)c2):„,--
                                                                                =4„1
Date issued: October 5, 2012                                                  W

                 -                                                                '3
To the person summoned:
        1. Personal attendance in court on the day named is not required.                   •„\
        2. Failure to file a response within the time allowed may result in ajuddnt-by default or the
            granting of the relief sought against you.
        3. Proper Courtroom attire is expected. Anything that you would wear to an office that presents
            a professional appearance is appropriate. Please no shorts, cut-off jeans, halter, tank or tube
            tops or other attire that reveals the abdomen or lower back, spandex or mesh garments.

                                                   Sheriff's Return '


Fee $                                                            Sheriff

Note:
    1. This summons is effective for service only if served within 60 days after the date it is issued.
    2.   Proof of service shall set out the name of the person served, date and the particular place and manner of
         service. If service is not made, please state the reasons.
    3.   Return of served or unserved process shall be made promptly and in accordance with Rule 2-126. If this
         summons is served by private process, the process server shall file a separate affidavit as requiredby Rule
         2-126 (a).
    4.   Direct your responses and questions to Circuit Court for Prince George's County, Clerk of the Circuit
         Court, 14735 Main Street, Courthouse D1002, Upper Marlboro, MD 20772-9987, Legal advice cannot be
         obtained from this office.
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    IN THE CIRCUIT CO T FOR PRINCE GEORGE'S COUNTY,

DORET STRIPLING                              CASE NO.:
14071 Vista Drive
Unit 124A
Laurel, Maryland 20707

            Plaintiff
      VS.


MEDST GEORGETOWN MEDI
CENTER, INC.
SERVE:
                                                                       3
Resident Agent                                                                  r)
The Corporation Trust                                                      n
 Incorporated                                                              rz
                                                          _r°,
351 West C den Street
Baltimore, MD 21201
                                                                   ;,-;)



            Defendant
                                        *


                                 COMPLAINT

TO THE HONORABLE, THE JUDGES OF SAID COURT:

     COMES NOW the Plaintiff, DORETHA STRIPLING, by and through

counsel, Michael S. Blumenthal, Esquire, and brings this action

against the defendant, MEDSTAR GEORGETOWN MEDICAL CENTER, INC., and

in support thereof, states as follows:

                                • COUNT I

     1.     That   plaintiff,      DORETHA   STRIPLING,          (hereinafter

"plaintiff") is an adult citizen of the United States and a

resident of Prince George's County, Maryland.

     2.     That defendant, MEDSTAR GEORGETOWN MEDICAL CENTER, INC.,

(hereinafter the "defendant") is a corporation in the business of

providing health care, and regularly conducts business at 10401
Case 8:12-cv-03408-DKC Document 1-1 Filed 11/20/12 Page 4 of 11



Hospital Drive, Suite 101, Clinton, Prince George's County,

Maryland, and is licenced to do so.

      3.   That this Court has jurisdiction pursuant to Title 4 of

the Courts and Judicial Proceedings Article of the Annotated Code

of Maryland.

      4.   That on or about February 18, 2011, the defendant did

cause a document containing plaintiff's private and protected

health information to be transferred via facsimile form defendant's

Department of Neurosurgery in Clinton, Prince George's County,

Maryland to plaintiff's a facsimile machine at place of employment

at 3060 Mitchellville Road, Suite 214, Bowie, Prince George's

County, Maryland 20706.

     5.    That in doing so, defendant improperly publicized facts

about plaintiff which were not of valid concern to the public and

which are subject to federal privacy laws and as to which plaintiff

enjoyed an expectation of privacy.

     6.    That the publication of these facts was highly offensive

to any reasonable person and constitutes unreasonable publicity

given to plaintiff's private life.

     7.    That it was then and there the duty of defendant, MEDSTAR

GEORGETOWN MEDICAL CENTER, INC. to keep the information private.

     8.    That defendant, MEDSTAR GEORGETOWN MEDICAL CENTER, INC.,

then and there breached that duty of due care.




                                    2
Case 8:12-cv-03408-DKC Document 1-1 Filed 11/20/12 Page 5 of 11



      9.    That the conduct on the part of defendant, MEDSTAR

GEORGETOWN MEDICAL CENTER, INC., was the actual and proximate cause

of the injuries suffered by the plaintiff, DORETHA STRIPLING.

      10.   That as a direct and proximate result of the conduct of

defendant, MEDSTAR GEORGETOWN MEDICAL CENTER, INC., the plaintiff,.

DORETHA STRIPLING, suffered excruciating conscious pain and

suffering, and to suffer great mental anguish, loss of work and
wages.

      10. That all such damages were directly and proximately

caused by the aforementioned conduct of the defendant, MEDSTAR

GEORGETOWN MEDICAL CENTER,        INC., and were incurred without

contributory negligence on the part of the plaintiff, DORETHA

STRIPLING, nor an opportunity for the plaintiff, DORETHA STRIPLING,'

to prevent the conduct from occurring.

     WHEREFORE, the plaintiff, DORETHA STRIPLING, demands judgment

against the defendant, MEDSTAR GEORGETOWN MEDICAL CENTER, INC., in

the amount of $750,000.00, plus costs.

                         DEMAND FOR JURY TRIAL

     Plaintiff, DORETHA STRIPLING hereby demands a trial by jury.

                                  • Respectfully submitted,


                                    By
                                         Michael S. lumenthal
                                         8201 Corporate Dr., Ste
                                         Landover, MD 20785
                                         (301) 459-4442
                                         Attorney for Plaintiff


                                    3
      Case 8:12-cv-03408-DKC Document 1-1 Filed 11/20/12 Page 6 of 11

CT Co - porat on                                                         Service of Process
                                                                         1:re Ismittal
                                                                         -


                                                                         10/22/2012
                                                                         CT Log Number 521459282
TO:      Paula Price, Corporate Governance Specialist
         MedStar Health, Inc.
         5565 Sterrett Place, 5th Floor
         Columbia, MD 21094-


RE:      Process Served in Maryland

FOR:     MedStar-Georgetown Medical Center, Inc. (Domestic State: DC)




ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:


TITLE OF ACTION:                   Doretha Stripling, Pltf. vs. MedStar-Georgetown Medical Center, Inc., Dft.
DOCUMENT(S) SERVED:                Writ of Summons, Complaint and Jury Demand, Attachment(s)
COURT/AGENCY:                      Prince George's County - Circuit Court, MD
                                   Case # CALI 231352
NATURE OF ACTION:                  Medical Injury - Improper Care and Treatment - Medstar Georgetown Medical Center,
                                   Inc.
ON WHOM PROCESS WAS SERVED:        The Corporation Trust Incorporated, Baltimore, MD
DATE AND HOUR OF SERVICE:          By Certified Mail on 10/22/2012 postmarked on 10/19/2012
JURISDICTION SERVED:               Maryland
APPEARANCE OR ANSWER DUE:          Within 30 days after service of this summons
ATTORNEY(S) / SENDER(S)            Michael S. Blumenthal
                                   8201 Corporate Dr., Ste 1120
                                   LandOver, MD 20785
                                   301A59-4442
ACTION ITEMS:                      CT has retained the current log, Retain Date: 10/23/2012, Expected Purge Date:
                                   10/28/2012
                                   Telephone, Gloria Utz , 410-772-6548
                                   Image SOP
                                   Email Notification, Sarah Shackelford Sarah.shackelford@medstannet
                                   Email Notification, Pam Brosnan pam.s.brosnan@medstarnet
                                   Email Notification, Lauren Rowinski lauren.rowinski®medstar.net
                                   Email Notification, Richard Goldberg richard.goldberg@medstannet
                                   Email Notification, Suzi Brenner suzi.brenner@medstar.net
                                   Email Notification, Larry Smith larry.l.smith@medstar.net
                                   Email Notification, Paula Price Paula.S.Price@medstar.net
                                   Email Notification, Laurel Warfield laurel.a.warfield@medstar.net
                                   Email Notification, Karin Calimano karin.e.calimano@medstannet
                                   Email Notification, Mary Cierkowski mary.d.cierkowski@medstannet
                                   Email Notification, Gloria Utz gloria.j.utz@medstar.net
                                   Email Notification, Rachel Leyko rachel.a.leyko@medstar.net
SIGNED:                            The Corporation Trust Incorporated
PER:                               Billie Swoboda
ADDRESS:                           351 West Camden Street
                                   Baltimore, MD 21201




                                                                         Page 1 of 2 / RH
                                                                         Information displayed on this transmittal is for CT Corporation's
                                                                         record keeping purposes only and is provided to the recipient for
                                                                         quick reference. This information does not constitute a legal
                                                                         opinion as to the nature of action, the amount of damages, the
                                                                         answer date, or any information contained in the documents
                                                                         themselves. Recipient is responsible for interpreting said
                                                                         documents and for taking appropriate action. Signatures on
                                                                         certified mail receipts confirm receipt of package only, not
                                                                         contents.
      Case 8:12-cv-03408-DKC Document 1-1 Filed 11/20/12 Page 7 of 11

, CT Corporation                                                        Service of Process
                                                                        Transmittal
                                                                        10/22/2012
                                                                        CT Log Number 521459282



TON      Paula Price, Corporate Governance Specialist
         MedStar Health, Inc.
         5565 Sterrett Place, 5th Floor
         Columbia, MD 21044-

RE:      Process Served in Maryland

FOR:     MedStar-Georgetown Medical Center, Inc. (Domestic State: DC)


TELEPHONE:                         410-539-2837




                                                                        Page 2 of 2 / RH
                                                                        Information displayed on this transmittal is for CT Corporation's
                                                                        record keeping purposes only and is provided to the recipient for
                                                                        quick reference. This information does not constitute a legal
                                                                        opinion as to the nature of action, the amount of damages, the
                                                                        answer date, or any information contained in the documents
                                                                        themselves. Recipient is responsible for interpreting said
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                                                                        certified mail receipts confirm receipt of package only, not
                                                                        contents.
Case 8:12-cv-03408-DKC Document 1-1 Filed 11/20/12 Page 8 of 11




 Circuit Court for Prince Georges County
                                                              City or County
                         CIVIL - NON-DOMESTIC CASE INFORMATION REPORT
 DIRECTIONS:
             Plaintiff: This Information Report must be completed and                       aint filed            _the Clerk of Court
 unless your case is exempted from the requirement by the Chief Judge of the Court of Appeals pursua                        I 1(a).
 A copy must be induded for each defendant lo be served
             Defendant: You must file an Information Report as required by Rule 2-323(h).
    THIS INFORMATION REPORT CANNOT BE ACCEPTED AS AN ANSWER OR RESPONSE
 FORM FILED BY:  J PLAINTIFF E] DEFENDANT      CASE NUMBER
                                                                                                        (Cleric to insert)
 CASE NAME: Doretha Stripling                                           VS.      Medstar Georgetown Medical Center, Inc.
                                       Plaintiff                                                        Defindant
 JURY DEMAND:           El
                       Yes 9 No               Anticipated length of trial:                 hours or       /         days
 RELATED CASE PENDING? Yes No If yes, Case #(s), if known:
 Special Requirements?   In erpreter (Please attach Form CC-DC 41)
                             0 ADA accommodation (Please attach Form CC-DC 49)
                         NATURE OF ACTION                                                     DAMAGES/RELIEF
                          (CHECK ONE BOX)
                TORTS                              LABOR                                       A. TORTS
 0 Motor Tort                         0 Workers Comp.                               ...›. al Damages
 0 Premises Liability                 0 Wrongful Discharge                      Lfe: Under $7,500             0 Medical Bills
 0 Assault & Battery                  El EEO                                    ID $7,500 - $50,000
 0 Product Liability                  0 Other                                    0 $50,000 - $100,000       0 Property Damages
     ofessional Malpractice                  CONTRACTS                         , jaOver $100,000
   Wrongful Death                     0 Insurance                                       ' 1
                                                                                                           0 Wage Loss
0 Business & Commercial               D Confessed Judgment
El Libel & Slander                    ID Other
0 False Arrest/Imprisonment                 REAL PROPERTY                        B. CONTRACTS              C. NONMONETARY
InNuisance                            0Judicial Sale
OToxic Torts                          El Condemnation                           Cl Under $1Q,000    C] Declaratory Judgment
0  Fraud                              0 Landlord Tenant                         0 $10,000 - $20,000 0 Injunction
EIMalicious Prosecution               Cl Other                                  0 Over $20,0000 0 Other
CI Lead Paint                                      OTHER
Cl   Asbestos                         13 Civil Rights
0 Other                               0 Environmental
                                      El ADA
                                      El Other
                       ALTERNATIVE D          UTE RESOLUTION INFORMATION
Is this case appropriate for referral           rocess under Md. Rule 17-101? (Check all that
             A. Mediation DYes                               C. Settlement Conference Dyes
             B. Arbitration El Yes                           D. Neutral Evaluation   01Yes
                                                  TRACK REQUEST
With the exception of Baltimore County and Baltimore City, please fill in the estimated LENGTH OF TRIAL.
THIS CASE WILL THEN BE TRACKED ACCORDINGLY
                      I I I 1/2 day of trial or less           3 days of trial time
                              day of trial time                More than 3 days of trial time
                            2 days of trial time

PLEASE SEE PAGE TWO OF THIS FORM FOR INSTRUCTIONS PERTAINING TO THE BUSINESS AND
TECHNOLOGY CASE MANAGEMENT PROGRAM AND COMPLEX SCIENCE : R MEDICAL CASE
MANAGEMENT ROGRAM (ASTAR), AS WELL AS ADDITIONAL INSTRUC ' ON F YOU ARE FILING YOUR
COMPLAINT         I MORE CITY, PRINCE GEORGE'S e        .A     • RE COUNTY.
 Date                                  Signature
CC/DCM 002 lit v. 2/2010)                                 Page 1 of 3
Case 8:12-cv-03408-DKC Document 1-1 Filed 11/20/12 Page 9 of 11




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                           .......    L - 'Y1 ECi NOWGY,'CASEI', ANAOEMENT, Oit c
     •
  For all jurisdictions, if Business and Technology track designation under Md Rule 16-205 is requested attach a duplicate
                                       copy of complaint and check one of the tracks below.
                                             0                                                           0
                                      Expedited                                                     Standard
                                Trial within 7 months                                        Trial within 18 months
                                       of Filing                                                    of Filing
 El EMERGENCY RELIEF REQUESTED
                                                                                 Signatwe                                         Date
                          COMLEX SCIENCE AN1iIQ.R4LEpIcAlt.,.68g.
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                                                                                                                      ------:,--,,,,
                      'ANAGEMENT:PkciiqW{: v4qXit
    FOR PURPOSES OF POSSIBLE SPECIAL ASSIGNMENT TO AN ASTAR RESOURCE JUDGE under Md. Rule 16-202.
                 Please check the applicable box below and attach a duplicate copy of your complaint.

              0 Expedited - Trial within 7 months of Filing                          0 Standard - Trial within 18 months of Filing

IF YOU ARE FILING YOUR COMPLAINT IN BALTIMORE CITY, PRINCE GEORGE'S COUNTY, OR BALTIMORE
COUNTY PLEASE FILL OUT THE APPROPRIATE BOX BELOW.
                           CIRCUIT COURT FOR BALTIMORE CITY (CHECK ONLY ONE)

 0 Expedited                         Trial 60 to 120 days from notice. Non-jury matters.

 0       Standard-Short              Trial 210 days.

 0 Standard                          Trial 360 days.

 0       Lead Paint                  Fill in: Birth Date of youngest plaintiff                       .

 0       Asbestos                    Events and deadlines set by individual judge.
                  •                                                                                          .
 ID Protracted Cases                 Complex cases designated by the Administrative Judge.


                                      CIRCUIT COURT FOR PRINCE GEORGE'S COUNTY
    To assist the Court in determining the appropriate Track for this case, check one of the boxes below. This information is not
an admission and may not be used for any purpose other than Track Assignment.

 0       Liability is conceded.

           ability is not conceded, but is not seriously in dispute.

 0       Liability is seriously in dispute.




CC/DCM 002 (Rev. 2/2010)                                            Page 2 of 3
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                                    CIRCUIT COURT FOR BALTIMORE COUNTY

  E3 Expedited                 Attachment Before Judgment, Declaratory Judgment (Simple), Administrative Appeals, District
   (Trial Date-90 days)        Court Appeals and Jury Trial Prayers, Guardianship, Injunction, Mandamus.

  •      Standard              Condemnation, Confessed Judgments (Vacated), Contract, Employment Related Cases, Fraud and
      (Trial Date-240 days)    Misrepresentation, International Tort, Motor Tort, Other Personal Injury, Workers' Compensation
                               Cases,

  o     Extended Standard      Asbestos, Lender Liability, Professional Malpractice, Serious Motor Tort or Personal Injury Cases
      (Trial Date-345 days)    (medical expenses and wage loss of $100,000, expert and out-of-state witnesses (parties), and trial
                               of five or more days), State Insolvency.

  •      Complex               Class Actions, Designated Toxic Tort, Major Construction Contracts, Major Product Liabilities,
       (Trial Date-450 days)   Other Complex Cases.




 CC/DCM 002 (Rev, 212010)                                   Page 3 of3
                 Case 8:12-cv-03408-DKC Document 1-1 Filed 11/20/12 Page 11 of 11




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Landover, MD 20785
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                                             Corporation Trust, Inc.
                                             351 West Camden Street
                                             Baltimore, Maryland 21201




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